Case: 4:17-cv-02707-AGF Doc. #: 282 Filed: 10/20/21 Page: 1 of 2 PageID #: 11045




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

JAMES CODY, et al.,                         )
                                            )
           Plaintiffs,                      )
                                            )
      v.                                    )      Case No. 4:17-CV-2707 AGF
                                            )
CITY OF ST. LOUIS,                          )
                                            )
           Defendant.                       )

                             MEMORANDUM AND ORDER

       This putative class action is before the Court on the motion of nonparty Corizon,

LLC to partially quash Plaintiffs’ Amended Subpoena Duces Tecum (ECF No. 205). In

their briefs before the Court, and in a status report filed by Plaintiffs after the Court

dismissed without prejudice Plaintiffs’ claims for injunctive and declaratory relief (ECF

No. 281), the parties have advised the Court that they have reached agreement regarding

several of Corizon’s objections.

       The only remaining dispute relates to whether Corizon should be required to

produce: “For the period of time between March 1, 2020 and February 29, 2021, all

documents reflecting the policies, protocols, and procedures of Corizon related to

COVID-19 at the MSI facility.” Subpoena, ECF No. 206-1 ¶ 21. The Court agrees with

Corizon that such documents are wholly irrelevant to Plaintiffs’ claims, which predate by

years and in no way relate to the COVID-19 pandemic, particularly in light of the

dismissal of Plaintiffs’ claims for prospective relief.

       Accordingly,
Case: 4:17-cv-02707-AGF Doc. #: 282 Filed: 10/20/21 Page: 2 of 2 PageID #: 11046




      IT IS HEREBY ORDERED that, to the extent not already resolved by the

agreement of the parties, Corizon, LLC’s Motion to Partially Quash Subpoena Duces

Tecum is GRANTED. ECF No. 205.



                                        AUDREY G. FLEISSIG
                                        UNITED STATES DISTRICT JUDGE

Dated this 20th day of October, 2021.




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